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                                                                 SOUTHERN DISTRICT OF INDIANA
                                                                    Roger A.G. Sharpe, Clerk




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